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Debtor 1 Christopher David Bailey

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: Middle District of Pennsylvania
(State)

Case number 24-01674

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: J.P. Morgan Mortgage Acquisition Corp. Court claim no. (if known): 1-1

Last 4 digits of any number you use to 1 4 6 6
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

No
LJ Yes. Date of the last notice: / /

an Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

Description Dates incurred Amount

1. Late charges (1) $

2. Non-sufficient funds (NSF) fees (2) $

3. Attorney fees 07/23/24 (3) $ 350.00
4. Filing fees and court costs (4) $

5. Bankruptcy/Proof of claim fees 07/24/24 6) $ 300.00
6. Appraisal/Broker's price opinion fees (6) $

7. Property inspection fees (7) $

8. Tax advances (non-escrow) (8) $

9. Insurance advances (non-escrow) (9) §$
10. Property preservation expenses. Specify: (10) §$
11. Other. Specify: Objection to Confirmation 07/31/24 (11) $_500.00
12, Other. Specify: Service 07/11/24, 08/27/24 (12) §$ 2.66
13. Other. Specify: (13) $
14. Other. Specify: (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 1

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Debtor 1 Christopher David Bailey Case number (irinown _24-01674

First Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

LJ | am the creditor.

| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.

X/s/ Shakyra Hopkins pate 12) 08/2024

Signature
Print: Shakyra Hopkins Tite _Authorized Agent

First Name Middle Name Last Name
Company Liepold, Harrison & Associates, PLLC
Address 1425 Greenway Drive, Suite 250

Number Street

Irving TX 75038

City State ZIP Code

Contact phone (800 ) 349 - 1254 Email PCNInquiries@I|ha-law.com
Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 2

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UNITED STATES BANKRUPTCY COURT
Middle District of Pennsylvania (Harrisburg)

in Re: Christopher David Bailey Case No 24-01674
Debtor(s)
Chapter 13
CERTIFICATE OF SERVICE

| hearby certify that on 12/8/2024,a true and correct copy of the foregoing Post-Petition Fee Notice was served
upon all interested parties pursuant to the Court’s CM/ECF system.

By:/s/ Shakyra Hopkins

Authorized Agent for Creditor
Liepold, Harrison and Associates
1425 Greenway Drive, Suite 250
Irving, TX 75038

Debtor through the debtor’s attorney of record
Christopher David Bailey

18 N Franklin St

Waynesboro, PA 17268-1208

Debtor’s Counsel
Michael A. Cibik
help@cibiklaw.com

Trustee

Jack N Zaharopoulos
info@pamd13trustee.com

US Trustee
Office of the United States Trustee
ustpregion03.ha.ecf@usdoj.gov

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&Y INVOICING’ Invoice Detail

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IP Carrington Mortgage Services, LLC / Michele Vance

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

Vendor LOGS Legal Group LLP (PA)
Address: PO BOX 775426

Chicago, IL 60677-5426
Payee Code: 1067
Vendor Contact: NAT DATA CTR
Vendor Ref #: 20-064775
Servicer:

Inv. ID / Cat. ID
Investor Name:

00052/00001

Invoice ID: 339249953
Class Code:

Entity Code: 0

GSE Code:

GSE REO Rem.
Code:

HiType:
Litigation Status
Code:

Man Code:

Original Mortgage Amount: $0.00

Carrington Mortgage Services, LLC

JPM USDA PURCHASE

Principal Balance as of invoice create date: $81,897.46
Principal Balance as of today's date: $81,897.46

09/05/2024

09/06/2024

10/25/2024

Regarding:
CHRISTOPHER BAILEY
18 N FRANKLIN ST
WAYNESBORO, PA 17268

Investor Loan #:

Foreclosure - Foreclosure Services

09/06/2024

Invoice Number:
Invoice Status:
Loan No.:
Acquisition Date:
Loan Type:

Asset No.:

REO Loan Status:
REO Loan Status Date:
Type:

Referral Date:
Loan Location:

Submitted Date:

Vendor Invoice Date:

Paid In Full Date:
Foreclosure Removal Date:
MS Status:

Relief Requested Date:
Protection Begin Date:
Protection End Date:

09/06/2024

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PAO211141
Check Confirmed (Exc)

USDA

N/A

N/A
Judicial
1/22/2020

9/5/2024
9/4/2024
N/A

N/A

N/A

N/A

N/A

N/A

09/11/2024 2

| Line Items ||

Fees Total: $150.00 Invoicing Prev. Billed: $6,945.00 Exc. Loan Allow: $3,645.00 Exc. Milestone Exc Ord Allw:
Costs Total: $1.38 Invoicing Prev. Billed: $4,618.99 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $151.38 Prev. Billed: $11,563.99 Loan Total Fees/Costs Prev.Billed: $16,771.73 Exc Ord Allw:
Fees
al & cl Attorney Fees Non-Recoverable Foreclosure Fees 08/28/24 1 $50.00 $50.00 $0.00 $50.00
Note: Non-recoverable; Fee needed to draft, review, file, and serve notice of sale postponement/new sale date
Service From Date: 08/28/2024 Service To Date: 08/28/2024
al & cl Attorney Fees Postpone/Re-Set Sale 08/28/24 1 $100.00 $100.00 $0.00 $100.00
Note: Non-recoverable; Fee to continue the 9/13 sale to 11/8 for ongoing BK
Service From Date: 08/28/2024 Service To Date: 08/28/2024
Total: $150.00 $0.00 $150.00
Costs
Al S cl Service Costs Statutory Mailings 08/27/24 1 $1.38 $1.38 $0.00 $1.38
Note: Recoverable; Robert D. Klingensmith, Esquire | Christopher Bailey |
Service From Date: 08/27/2024 Service To Date: 08/27/2024
Total: $1.38 $0.00 $1.38
Invoice Total: $151.38 $0.00 $151.38
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IP Carrington Mortgage Services, LLC / Michele Vance

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

Vendor LOGS Legal Group LLP (PA) Regarding:

Address: PO BOX 775426 CHRISTOPHER BAILEY
Chicago, TL 60677-5426 18 N FRANKLIN ST

Payee Code: 1067 WAYNESBORO, PA 17268

Vendor Contact: NAT DATA CTR

Vendor Ref #: 20-064775

Servicer: Carrington Mortgage Services, LLC

Inv. ID / Cat. ID 00052/00001 Investor Loan #:

Investor Name: JPM USDA PURCHASE

Invoice Number:
Invoice Status:

Loan No.:

Acquisition Date:

Loan Type:

Asset No.:

REO Loan Status:

REO Loan Status Date:

Referral Date:

Loan Location:

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PAO210348
Check Confirmed (Exc)

USDA
N/A

N/A
7/24/2024

Invoice ID: 337838717
Class Code: BK Case No: 1:24-bk-01674-HWV
Entity Code: 0 BK Chapter: 13
GSE Code: Submitted Date: 8/2/2024
GSE REO Rem. Vendor Invoice Date: 8/1/2024
Code: Paid In Full Date: N/A
HiType: Foreclosure Removal Date: N/A
Litigation Status MS Status: N/A
Code: .
Man Code: Relief Requested Date: N/A
an Code: Protection Begin Date: N/A
Protection End Date: N/A
Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $81,897.46
Principal Balance as of today's date: $81,897.46
Bankruptcy - Bankruptcy Services
08/02/2024 08/05/2024 10/25/2024 08/05/2024 08/05/2024 08/08/2024 4
Line Items || L I l I l I L I I |
Fees Total: $500.00 Invoicing Prev. Billed: $650.00 Exc. Loan Allow: Exc. Milestone Exc Ord Allw:
Costs Total: $0.00 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $500.00 Prev. Billed: $650.00 Loan Total Fees/Costs Prev.Billed: $25,519.73 Exc Ord Allw:
Fees
Al & cl Attorney Fees Objection to Confirmation 07/31/24 1 $500.00 $500.00 $0.00 $500.00
Note: Recoverable; Objection to Plan CH13 Court Case#1:24-bk-01674-HWV
Service From Date: 07/31/2024 Service To Date: 07/31/2024
Total: $500.00 $0.00 $500.00
Invoice Total: $500.00 $0.00 $500.00

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G e iQ ull S ial a e@

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

Vendor LOGS Legal Group LLP (PA) Regarding:

Address: PO BOX 775426 CHRISTOPHER BAILEY
Chicago, TL 60677-5426 18 N FRANKLIN ST

Payee Code: 1067 WAYNESBORO, PA 17268

Vendor Contact: NAT DATA CTR

Vendor Ref #: 20-064775

Servicer: Carrington Mortgage Services, LLC

Inv. ID / Cat. ID 00052/00001 Investor Loan #:

Investor Name: JPM USDA PURCHASE

IP Carrington Mortgage Services, LLC / Michele Vance

| Audit Detail

Invoice Number:
Invoice Status:

Loan No.:

Acquisition Date:

Loan Type:

Asset No.:

REO Loan Status:

REO Loan Status Date:

Referral Date:

Loan Location:

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PAO210164
Check Confirmed (Exc)

USDA
N/A

N/A
7/12/2024

Invoice ID: 337556270
Class Code: BK Case No: 1:24-bk-01674-HWV
Entity Code: 0 BK Chapter: 13
GSE Code: Submitted Date: 7/26/2024
GSE REO Rem. Vendor Invoice Date: 7/25/2024
Code: Paid In Full Date: N/A
HiType: Foreclosure Removal Date: N/A
Litigation Status MS Status: N/A
Code: .
Man Code: Relief Requested Date: N/A
an Code: Protection Begin Date: N/A
Protection End Date: N/A
Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $81,897.46
Principal Balance as of today's date: $81,897.46
Bankruptcy - Bankruptcy Services
07/26/2024 07/29/2024 10/25/2024 07/29/2024 07/30/2024 08/02/2024 4
Line Items || lJ ll ll ll l l l U U L
Fees Total: $300.00 Invoicing Prev. Billed: $350.00 Exc. Loan Allow: Exc. Milestone Exc Ord Allw:
Costs Total: $0.00 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $300.00 Prev. Billed: $350.00 Loan Total Fees/Costs Prev.Billed: $25,219.73 Exc Ord Allw:
Fees
Al & cl Attorney Fees Proof of Claim 07/24/24 1 $300.00 $300.00 $0.00 $300.00
Note: Recoverable; Proof of Claim Filed CH13; 1:24-bk-01674-HWV
Service From Date: 07/24/2024 Service To Date: 07/24/2024
Total: $300.00 $0.00 $300.00
Invoice Total: $300.00 $0.00 $300.00

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IP Carrington Mortgage Services, LLC / Michele Vance

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

Vendor LOGS Legal Group LLP (PA) Regarding:

Address: PO BOX 775426 CHRISTOPHER BAILEY
Chicago, TL 60677-5426 18 N FRANKLIN ST

Payee Code: 1067 WAYNESBORO, PA 17268

Vendor Contact: NAT DATA CTR

Vendor Ref #: 20-064775

Servicer: Carrington Mortgage Services, LLC

Inv. ID / Cat. ID 00052/00001 Investor Loan #:

Investor Name: JPM USDA PURCHASE

Invoice Number:
Invoice Status:

Loan No.:

Acquisition Date:

Loan Type:

Asset No.:

REO Loan Status:

REO Loan Status Date:

Referral Date:

Loan Location:

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PAO210109
Check Confirmed

USDA
N/A

N/A
7/12/2024

Invoice ID: 337487047
Class Code: BK Case No: 1:24-bk-01674-HWV
Entity Code: 0 BK Chapter: 13
GSE Code: Submitted Date: 7/25/2024
GSE REO Rem. Vendor Invoice Date: 7/24/2024
Code: Paid In Full Date: N/A
HiType: Foreclosure Removal Date: N/A
Litigation Status MS Status: N/A
Code: .
Man Code: Relief Requested Date: N/A
an Code: Protection Begin Date: N/A
Protection End Date: N/A
Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $81,897.46
Principal Balance as of today's date: $81,897.46
Bankruptcy - Bankruptcy Services
07/25/2024 07/29/2024 10/25/2024 07/29/2024 07/29/2024 08/01/2024 5
Line Items || L I l I l I L I I I |
Fees Total: $350.00 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc. Milestone Exc Ord Allw:
Costs Total: $0.00 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $350.00 Prev. Billed: $0.00 Loan Total Fees/Costs Prev.Billed: $24,869.73 Exc Ord Allw:
Fees
Al & cl Attorney Fees Plan Review Fee 07/23/24 1 $350.00 $350.00 $0.00 $350.00
Note: Recoverable; Plan Review CH13; 1:24-bk-01674-HWV
Service From Date: 07/23/2024 Service To Date: 07/23/2024
Total: $350.00 $0.00 $350.00
Invoice Total: $350.00 $0.00 $350.00

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IP Carrington Mortgage Services, LLC / Michele Vance

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold

Vendor
Address:

Payee Code:
Vendor Contact:
Vendor Ref #:
Servicer:

Inv. ID / Cat. ID
Investor Name:

Invoice ID:
Class Code:
Entity Code:
GSE Code:

GSE REO Rem.
Code:

HiType:

Litigation Status
Code:

Man Code:

LOGS Legal Group LLP (PA)
PO BOX 775426

Chicago, IL 60677-5426

1067

NAT DATA CTR

20-064775

Carrington Mortgage Services, LLC
00052/00001

JPM USDA PURCHASE

337101361

Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $81,897.46
Principal Balance as of today's date: $81,897.46

07/18/2024

[ Line Items || LI lf

07/18/2024

10/25/2024

Regarding:
CHRISTOPHER BAILEY
18 N FRANKLIN ST

WAYNESBORO, PA 17268

Investor Loan #:

Invoice Number:
Invoice Status:
Loan No.:
Acquisition Date:
Loan Type:

Asset No.:

REO Loan Status:
REO Loan Status Date:
Type:

Referral Date:
Loan Location:

Submitted Date:

Vendor Invoice Date:

Paid In Full Date:
Foreclosure Removal Date:
MS Status:

Relief Requested Date:
Protection Begin Date:
Protection End Date:

Foreclosure - Foreclosure Services

07/18/2024 07/18/2024

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PAO209952
Check Requested (Exc)

USDA

N/A

N/A
Judicial
1/22/2020

7/18/2024
7/17/2024
N/A

N/A

N/A

N/A

N/A

N/A

Fees Total: $100.00 Invoicing Prev. Billed: $6,795.00 Exc. Loan Allow: $3,445.00 Exc. Milestone Exc Ord Allw:
Costs Total: $23.28 Invoicing Prev. Billed: $4,595.71 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $123.28 Prev. Billed: $11,390.71 Loan Total Fees/Costs Prev.Billed: $16,598.45 Exc Ord Allw:
Fees
al & cl Attorney Fees Postpone/Re-Set Sale 07/16/24 1 $100.00 $100.00 $0.00 $100.00
Note: Non-recoverable; Fee to postpone the 7/12 sale to 9/13 for BK
Service From Date: 07/16/2024 Service To Date: 07/16/2024
Total: $100.00 $0.00 $100.00
Costs
Al S cl Service Costs Statutory Mailings 07/11/24 1 $1.28 $1.28 $0.00 $1.28
Note: Recoverable; Robert D. Klingensmith, Esquire | Christopher Bailey |
Service From Date: 07/11/2024 Service To Date: 07/11/2024
Al S cl Filing Costs Additional Court Filing Costs 03/28/24 1 $22.00 $22.00 $0.00 $22.00
Note: Recoverable; writ of execution
Service From Date: 03/28/2024 Service To Date: 03/28/2024
Total: $23.28 $0.00 $23.28
Invoice Total: $123.28 $0.00 $123.28
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